Edward A. Murphy
MURPHY LAW OFFICES, PLLC
127 N. Higgins, Ste. 310
Missoula, MT 59802
Phone: (406)728-2671
Fax: (866)705-2260
Email: rusty@murphylawoffices.net
Attorney No. 1108
Attorney for Defendant


                              UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF MONTANA


  In re

  SCOTT K. WILLIAMS                                              Case No. 9:22-bk-90147

                 Debtor.

  RICHARD J. SAMSON,

                 Plaintiff,

                v.                                            Adversary No. 9:23-ap-09001

  CANDY WILLIAMS, et al.

                 Defendants.


    CANDY WILLIAMS’ RESPONSES TO PLAINTIFF’S FIRST DISCOVERY REQUESTS

          INTERROGATORY NO. 1: Please state the name, address and telephone number (both

 work and home) of each person whom you believe to have knowledge of discoverable information

 concerning this matter and, for each person, please state:

          a.    The subject matters of which the person has knowledge;

          b.    The substance of the knowledge that you believe the person has; and

          c.    The person’s relationship to you.

          ANSWER:                                                                               127
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  1. Candy Williams

  a.   Transfer of property to Viking Investments and to herself from Viking Investments as well as
       payments made to and on behalf of Scott Williams.

  b. Payment of debts of Scott Williams and other consideration given to him following the transfer.

  c. Defendant.

  2.   Scott Williams

  a.    All aspects of the claims against him related to the Hughes trust and payments made to him
       and on his behalf by Viking Investments and Candy Williams.

  b. Transfers to beneficiaries of the Hughes Trust and the appropriateness of those transfers.
     Payments made on debts owed by Scott Williams and payments made to Scott Williams.

  c. Defendant’s husband.

       INTERROGATORY NO. 2:                 Please state the name, address and telephone number

(both work and home) of each person whom you intend to call as a witness at the trial of this matter.

       ANSWER: Candy Williams and Scott Williams.

        INTERROGATORY NO. 3: State the names and addresses of all experts you have

retained or conferred with concerning this action or any facts or circumstances which are relevant to this

action whom you expect to call as an expert witness at trial. For each such expert:

        a.      State the subject matter on which that expert is expected to testify;

        b.      State the substance of the facts and opinions to which the expert is expected to
                testify;

        c.      Summarize the grounds for each opinion; and

        d.      State whether any written reports have been received from any of said experts
                regarding the allegations which are the subject of the pleadings in this matter.

        ANSWER: None at this time.

        a.

        b.

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         c.

         d.


         REQUEST FOR PRODUCTION NO. 1: Please produce all the documents

 concerning any experts who may testify on your behalf at trial, including any electronically stored

 information in native format. This request includes, without limitation:

         a.       All correspondence exchanged between you or your agents or your lawyers and the
                  expert;

         b.       All other documents evidencing or relating to any communications between you or
                  your agents or your lawyers and the expert;

         c.       All documents which the expert reviewed in preparing his or her opinions;

         d.       All documents upon which the expert will rely in testifying at trial;

         e.       All documents which the expert will use as exhibits while testifying at trial; and

         f.       All reports, whether draft or final, generated by or for the expert.

         RESPONSE: There are no documents at this time.

         a.

         b.

         c.

         d.

         e.

         f.

        REQUEST FOR PRODUCTION NO. 2: Please produce all documents or other items

which you intend to introduce as exhibits at the trial in this matter, including any electronically stored

information in native format.

        RESPONSE: No decisions have been made at this time concerning exhibits.



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        INTERROGATORY NO. 4: If any document responsive to any request for production

        is withheld on the basis of claimed privilege, for each such document, please state:

        a.           The number of the Request for Production;

        b.           Which privilege is claimed:

        c.           The nature of the document (i.e., letter, memo, photograph, e-mail);

        d.           The date it was prepared;

        e.           The identity and position of the person preparing it;

        f.           The identity and position of each person or entity to whom it was sent or given;
and

        g.           A summary of its subject matter; and

        h.           The location of the document.

        i.           To the extent not already stated, how and why you believe the particular privilege
applies.

             ANSWER: Not applicable at this time.

             a.

             b.

             c.

             d.

             e.

             f.

             g.

             h.

             i.




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       INTERROGATORY NO. 5:               Please identify each and every bank, investment,

financial or other account in which you hold any kinds of assets, or on which you have had

signatory authority, since January 1, 2019. For each such account, please identify:

       a. The name(s) on the account;

       b. The bank, institution or entity at which the account is held;

       c. The account number; and

       d. The identity and position of any other signatories on the account.

       ANSWER:

       America First Credit Union

       a.    Candy Williams

       b. America First Credit Union

       c. ****614-1

       d. None.

      Glacier Bank – Personal

      a. Candy Williams

      b.    Glacier Bank, Kalispell

      c. ************7151

      d. None

      Glacier Bank – Viking

      a.       Viking Investments, LLC

      b.       Glacier Bank – Kalispell

      c.       ************0302




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        d.      Candy Williams

        Defendant’s name is also on an account owned by Scott Williams in US Bank but she
        does not have signatory authority on the account and none of her funds are held in that
        account.


        REQUEST FOR PRODUCTION NO. 3: Please produce all statements, cancelled or

voided checks, account documents and communications about all accounts identified in the

immediately preceding Interrogatory for the time period of January 1, 2019 to the present.

        RESPONSE: This request is objected to as overbroad and seeking irrelevant information.

Defendant does not object to producing redacted copies of documents which show payments made

to Scott Williams or to his creditors or with respect to the property at 11423 Spotted Fawn Ln,

Bigfork, and those are attached.

        REQUEST FOR PRODUCTION NO. 4: Please produce all documents relating to the

 formation and operation of Viking Investments, LLC, including electronically stored information

 in native format. This request includes, but is not limited to, all organizational documents,

 articles, by-laws, partnership or operating agreements, all annual reports, all financial statements and

 documents, and all documents relating to changes in ownership, management or structure.

        RESPONSE: Attached.

        INTERROGATORY NO. 6:                  Please describe in detail the transaction by which Viking

 Investments, LLC, transferred real property located at 11423 Spotted Fawn LN, Bigfork, MT

 59911-7335 (the “Real Property”) to you on or about December 26, 2019, including any

 consideration paid by you.

        ANSWER: I wanted to obtain a loan for $200,000 to continue making payments on behalf




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of Scott. In order to get the loan I put the property in my name. Further Viking Investments and I

made numerous payments to Scott and paid on a number of his debts.

        REQUEST FOR PRODUCTION NO. 5: Please produce all documents evidencing or

relating to the transaction by which Viking Investments, LLC, transferred real property located at

11423 Spotted Fawn LN, Bigfork, MT 59911-7335 (the “Real Property”) to you on or about

December 26, 2019, including any consideration paid by you.

        RESPONSE: Attached.

        REQUEST FOR PRODUCTION NO. 6: Please produce all personal financial

statements, credit applications, net worth statements, or other similar documents evidencing your

financial status from January 1, 2019 to the present, including any electronically stored information

in native format. This request includes, but is not limited to, all documents

submitted to United Wholesale Mortgage related to any loans provided to you which were secured

by the Real Property.

        RESPONSE: Objected to on the grounds of relevance.

        INTERROGATORY NO. 7:                  Please describe in detail all transfers of money, or

transfers of any other property, from Debtor Scott K. Williams to you from January 1, 2019 to the

present. For each such transfer, please state:

        1.   What property was transferred;

        2.   The value of the property transferred;

        3.   The date of the transfer; and

        4.   The consideration given for the transfer.




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        ANSWER:

        1. $400,000 was transferred to Viking Investment of which I am the sole member.

        2. $400,000

        3. August 5, 2019

        4.      The money was used to buy a house near Bigfork. Scott Williams has resided in

that house and continues to do so. Further payments were made to Scott Williams and payments

were made on his debts.


        REQUEST FOR PRODUCTION NO. 7: Please produce all documents evidencing or

relating to the transfers described in your answer to the immediately preceding interrogatory.

        RESPONSE: See the Viking Investments bank statement for August, 2019.

        REQUEST FOR ADMISSION NO. 1: Please admit that you are the sole member of

Viking Investments, LLC.

        ANSWER: Admitted.

        REQUEST FOR ADMISSION NO. 2: Please admit that Debtor Scott K. Williams

 transferred $400,000 to Vikings Investment, LLC, in July or August of 2019.

         ANSWER: Admitted.

         REQUEST FOR ADMISSION NO. 3: Please admit that Vikings Investments, LLC did

 not provide any consideration to Debtor Scott K. Williams for the transfer of $400,000 of

 Debtor’s funds to Vikings Investment, LLC, in July or August of 2019.

         ANSWER: Denied

         REQUEST FOR ADMISSION NO. 4: Please admit that you did not provide any




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 consideration to Viking Investments, LLC, for the transfer of the Real Property to you in

 December of 2019.

       ANSWER: Denied

       INTERROGATORY NO. 8:                  If your answer to any of the preceding requests for

 admissions was anything other than an unqualified admission, please explain in detail the reasons for

 your answer.

       ANSWER: With respect to Request for Admission No. 3, Viking Investments paid

$15,000 to Scott Williams. Further payments on Scott Williams American Express card totaled

$23,683.36. Further there were ATM withdrawals by Scott totaling $460.00. Scott Williams also

resided in the house at 11423 spotted Fawn Lane and continues to do so.

       With respect to Request for Admission No. 4, although I did not pay anything directly to

Viking Investment, I continued to make payments to Scott Williams and I paid on his credit

cards. Further, prior to the transfer Scott paid all of the household expenses and after the transfer

I paid all of the expenses, and payment of those expenses were a benefit to Scott. The only

income Scott has is his social security income.

       Bank statements showing payments to or on behalf of Scott are attached. Also attached

are tables summarizing payments made to or on behalf of Scott. Between Viking and myself a

total of $144,666.48 has been paid on credit cards for which Scott was liable. Further,

$17,395.00 of his debts were paid out of the $200,000 loan obtained in December, 2019. A total

of 35,197.50 in cash was provided. Further $92,673.32 was paid to improve the house. The

house was not livable when purchased and Scott and I lived in a fifth wheel from May, 2020,




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when we moved to Montana, to December, 2020, when we moved into the house. I bought the

fifth wheel in 2018 for a place to stay while I was in Montana and financed the purchase through

American First Credit Union in Utah. That was paid off in the amount of $41,975.00 out of the

$200,000 loan.

       Dated this ______ day of March, 2023.

                                        VERIFICATION

       I, Candy Williams, declare under penalty of perjury that the foregoing answers to

Interrogatories are true and correct.

       Dated this ____ day of March, 2023.


                                                           _____________________________
                                                           Candy Williams

                                                           MURPHY LAW OFFICES, PLLC

                                                           /s/Edward A. Murphy
                                                           Attorney for Defendant


                                  CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that I served the foregoing Candy Williams’
Responses to Plaintiff’s First Discovery Requests on the 27th day of March, 2023, on the
following persons in the manner indicated:

       Trent Gardner
       Via Email


                                                           /s/Edward A. Murphy




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From:    Candy Williams
To:      Edward Murphy

Thank you. I just no/ced that I didn't send all the AMEX and other credit cards I paid for Sco>. The
$18,482.70 was all his credit card debit except AMEX. Here is the remaining sec/on
GBV= Glacier Bank- Viking
AF= America First
GB= Glacier Bank- personal account
             Credit Card payments
  10/15/2019 Amex                         $ 6,147.17     GBV
  11/14/2019 Amex                         $   649.01     GBV
   12/2/2019 Amex                         $ 8,781.59     GBV
   1/13/2020 Amex                         $ 2,448.29     AF
   3/13/2020 Amex                         $ 23,276.87    AF
   4/14/2020 Amex                         $ 1,177.82     AF
   6/14/2020 Amex                         $ 6,918.39     GB
   7/14/2020 Amex                         $ 9,966.67     AF
   8/14/2020 Amex                         $ 5,831.91     AF
   9/14/2020 Amex                         $ 8,408.30     AF
  10/14/2020 Amex                         $ 3,014.56     AF
  11/16/2020 Amex                         $ 3,569.04     AF
  11/16/2020 RC Willey                    $   197.00
   1/14/2021 Amex                         $ 2,814.78     AF
   3/15/2021 Amex                         $ 1,000.00     AF
   4/14/2021 Amex                         $ 3,289.53     GB
  12/15/2020 RC Willey                    $   212.00     GB


    1/8/2021 RC Willey                    $    212.00    GB
   2/18/2021 RC Willey                    $    212.00    GB
   3/16/2021 RC Willey                    $    212.00
    4/1/2021 CC                           $     63.45
    4/1/2021 CC                           $     53.80
    4/1/2021 Amex                         $   3,289.53   GB
   4/15/2021 RC Willey                    $    212.00
    5/1/2021 CC                           $     63.45
    5/1/2021 CC                           $     53.80
   5/14/2021 Amex                         $   7,999.95   GB




                                                                                                       Page 1 of 2




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              Oct 2021.pdf, GB Oct 2022.pdf, GB Sept 2020.pdf, GB Sept 2021.pdf, GB Sept 2022.pdf, Viking
              Inv 1-31-2020.pdf, Viking Inv 7-31-2019.pdf, Viking Inv 7-31-2020.pdf, Viking Inv 9-2-2019.pdf,
              Viking Inv 9-30-2019.pdf, Viking Inv 10-31-2019.pdf, Viking Inv 11-29-2019.pdf, Viking Inv 12-
              31-2019.pdf, 2019-12-17 Statement - USB US Bank Checking 0794 (2).pdf, 2019-11-19
              Statement - USB US Bank Checking 0794 (2).pdf, 2019-10-17 Statement - USB US Bank
              Checking 0794 (2).pdf, 2019-09-18 Statement - USB US Bank Checking 0794 (1).pdf, 2020-04-
   6/14/2021 Amex                            $ 6,918.39
              16 Statement - USB US Bank Checking           GB
                                                      0794 (1).pdf, 2020-03-17 Statement - USB US Bank
   7/14/2021 Amex                            $   5,335.90   GB
              Checking 0794.pdf, 2020-02-19 Statement - USB US Bank Checking 0794 (1).pdf, 2020-01-17
    8/2/2021 CC                              $
              Statement - USB US Bank Checking      63.45
                                                   0794.pdf, 2021-05-18 Statement - USB US Bank Checking
              0794.pdf, 2021-04-16 Statement
   8/13/2021 Verizon                         $ - USB   US Bank Checking 0794.pdf, 2021-01-20 Statement -
                                                  335.40
              USB US Bank Checking 0794.pdf,
   8/16/2021 Amex                            $ 2019-04-16
                                                 7,892.80 GB Statement - USB US Bank Checking 0794 (1).pdf,
              2019-03-18 Statement - USB US
   9/14/2021 Amex                            $ Bank  Checking
                                                 7,208.00   GB 0794 (1).pdf, 2019-02-19 Statement - USB US
              Bank Checking 0794 (1).pdf, 2019-01-17
   9/13/2021 Verizon                         $    216.64Statement - USB US Bank Checking 0794 (1).pdf,
              2019-08-16 Statement - USB US Bank
   10/1/2021 Verizon                         $       Checking 0794 (1).pdf, 2019-07-17 Statement - USB US
                                                  234.83
              Bank Checking 0794 (1).pdf $
   10/1/2021 CC                                     63.45
   10/1/2021 CC                            $    53.80
Good   a&ernoon
    11/1/2021  CC Rusty,                   $    63.45
A1ached are the bank statements for Viking Inv 53.80
    11/1/2021  CC                          $     LLC and both of my accounts with Glacier Bank and
   12/1/2021
AMFC.          CCincluded Sco1's bank statements
        I've also                          $    63.45
                                                  if needed. That account has my maiden name on it
   12/1/2021   CC                          $    53.80
but I don't have access to that account since 2004 and Sco1 doesn't have access to my accounts.
                                           $128,632.07
Here is a list of credit cards that I paid oﬀ for Sco1
                Payment to Scott
From: EdwardScott
                Murphy   <rusty@murphylawoﬃces.net>
                    CC payoffs
Sent:1/2/2020
       Friday, March 24,2,448.29
                          2023 2:57AF
                                    PM
     1/3/2020 $$           50.00   AF
To:1/21/2020
    Candy Williams  (Home)    <cwsmb@hotmail.com>
     1/3/2020 $$         171.04
                          184.59   AF
                                   AF
Subject: Discovery responses
    1/3/2020
     1/2/2020 $           50.00
                        2,801.28     AF
    1/3/2020
     1/2/2020 $         2,732.25 AF
                         184.59
Candy,  a>ached are discovery    responses that are close to being done. I have not added responses for the
    1/2/2020 $          2,801.28
                        2,351.89 AF
items you sent to me today   as of yet.
    1/2/2020 $          2,732.25
                        2,344.48 AF                                                                         Page 1 of 4
    1/2/2020 $          2,351.89
                        1,449.82     AF
Please review the answers.    I will call you tomorrow to discuss them and hopefully ﬁnalize the responses.
    1/2/2020 $          2,344.48
                        1,350.78 AF
    1/2/2020 $          1,449.82
                         935.04      AF
Edward A. Murphy
    1/2/2020 $          1,350.78 AF
MURPHY LAW OFFICES,812.42 PLLC
    1/2/2020 $           935.04
                         476.37      AF
127 N. Higgins, Ste., 310
    1/2/2020 $           812.42      AF
Missoula, MT. 59802 374.45
    1/2/2020 $           476.37
                       18,482.70     AF
Phone: (406) 728-2671
    1/2/2020 $           374.45      AF
Facsimile: (866) 705-2260
              $       18,482.70
This is what was paid oﬀ with checks from the home loan for Sco1

This
Paid is
      offwhat
          with was paid oﬀ with checks from the home loan for Sco1
loan from
house
Paid off with  12/31/2019 $      9,677.00 AMEX
loan from                 $      4,256.00 Chase
house          12/31/2019 $      9,677.00
                                 3,462.00 AMEX
                                           chase
                          $      4,256.00
                              17,395.00    Chase
                          $      3,462.00 chase
                          $   17,395.00
Here are the amounts that Sco1 would pay oﬀ my debit (our agreement)
Agreement with Scott to pay off my debit and I would keep medical insurance on him
Here
 $   are 23,400.00
         the amountsCredit
                     thatcards
                           Sco1 would pay oﬀ my debit (our agreement)
Agreement
 $        with Scott to5th
       42,064.58         pay off my debit and I would keep medical insurance on him
                           wheel
 $     23,400.00
       13,671.00 Creditcar    cards
 $     42,064.58
       79,135.58 5th wheel
 $     13,671.00       car
 $     79,135.58
Payments made through Venmo or cash to Sco1
          Payments to Scott
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Payments made through Venmo or cash to Sco1
          Venmo/Cash
  9/15/2019 Payments to Scott
             $ 2,500.00   Viking Inv                                                                       Page 2 of 2
Agreement with Scott to pay off my debit and I would keep medical insurance on him
$      23,400.00      Credit cards
$      42,064.58      5th wheel
$      13,671.00      car
$      79,135.58

Payments made through Venmo or cash to Sco1
           Payments to Scott
            Venmo/Cash
  9/15/2019 $ 2,500.00 Viking Inv
 10/11/2019 $ 2,500.00 Viking Inv
  11/8/2019 $ 2,500.00 Viking Inv
 11/20/2019 $ 2,500.00 Viking Inv
 12/10/2019 $ 2,500.00 Viking Inv
 12/18/2019 $ 2,500.00 Viking Inv
  1/14/2020 $   500.00 Venmo
   1/2/2020 $ 3,000.00 AF
   2/1/2020 $ 2,500.00 Venmo
   2/6/2020 $   450.00 Venmo
  2/24/2020 $   500.00 Venmo
   3/1/2020 $ 2,500.00 Venmo
   3/3/2020 $   400.00 Venmo
   4/5/2020 $ 2,200.00 Venmo
  4/23/2020 $   400.00 Venmo


 4/25/2020 $   150.00      Venmo
 5/25/2020 $   400.00      Venmo
  6/1/2020 $   500.00      Cash                                                      Page 2 of 4
 6/25/2020 $   150.00      Cash GB
 7/25/2020 $   400.00      Venmo
 7/31/2020 $   460.00      cash
 8/25/2020 $   400.00      Venmo
 9/27/2020 $   400.00      Venmo
10/12/2020 $   200.00      Venmo
 12/4/2020 $   135.00      Venmo
12/10/2020 $    50.00      Venmo
 1/14/2021 $   140.00      Venmo
 12/7/2020 $   500.00      Cash GB
 1/19/2021 $   102.50      Cash GB
  2/1/2021 $   100.00      Cash GB
 3/26/2021 $   340.00      Cash GB
 4/12/2021 $   600.00      Cash GB
  6/8/2021 $    20.00      Cash GB
 7/12/2021 $   650.00      Cash GB
 5/10/2021 $ 2,050.00      Venmo
           $ 35,197.50

Money into the house.
             Money into house
$ 3,509.00 Oven
$ 1,900.00 Water system
$ 6,041.00 Master Bathroom
$ 3,500.00 Fridge
$ 1,449.00 Stove top
$   750.00 9:23-ap-09001-BPH
            Hood range               Doc#: 35-45 Filed: 11/15/23 Page 14 of 16
$ 7,000.00 Carpet
$ 4,212.00 Stone
    4/12/2021 $   600.00     Cash GB
     6/8/2021 $    20.00     Cash GB
    7/12/2021 $   650.00     Cash GB
    5/10/2021 $ 2,050.00     Venmo
              $ 35,197.50

Money into the house.
              Money into house
$ 3,509.00 Oven
$ 1,900.00 Water system
$ 6,041.00 Master Bathroom
$ 3,500.00 Fridge
$ 1,449.00 Stove top
$     750.00 Hood range
$ 7,000.00 Carpet
$ 4,212.00 Stone
$     989.00 Slate
$ 5,781.00 Laundry room build/Pantry
$ 2,004.82 Gate
$     598.00 ADT system                          $69.00 mo
$ 5,874.96 Air conditioner system
$ 1,047.00 Dishwasher
$ 3,376.00 Lighting
$ 4,300.00 Flooring -sealer and deck stain
$ 1,762.50 Wallpaper
$ 1,192.13 Beverage fridge
$ 5,772.00 Countertop
$     177.00 Weather strip
$     190.00 Doorbell entry light
$     500.00 Fireplace
$     241.00 Glass in fireplace
$ 2,800.00 Paint & Grout
$     875.00 Gravel
$     577.25 Backsplash & cabinet handles                                           Page 3 of 4
$ 1,207.00 Custom blinds
$ 2,857.22 Master closet
$ 1,250.00 Door locks and accessories
$     350.00 Toilets
$ 1,600.00 Road Maintenace-required
$     700.00 Scaffolding
$ 5,041.00 Electrical/wiring
$ 7,728.00 Doors
$     398.27 On demand hot water system
$     225.00 Mail Box
$ 4,898.17 plumbing
$92,673.32
            Additional payments

                                    $   2,737.25
            Apple
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     Mar-21 GP pass         $           Doc#:
                                        80.00 35-45 Filed: 11/15/23 Page 15 of 16
                                    $ 2,817.25
$ 7,728.00 Doors
$    398.27 On demand hot water system
$    225.00 Mail Box
$ 4,898.17 plumbing
$92,673.32
            Additional payments

                                  $   2,737.25
            Apple
    Mar-21 GP pass                $    80.00
                                  $ 2,817.25




Sco1 always paid all the monthly bills prior to us doing the loan for my company. Now those have all
moved over to me since Sept 2019 and I conTnue to pay them.
Car Insurance
Cell phone monthly bill and I bought him a new cell phone and apple watch


These are also bills I conTnue to pay for Sco1. The only thing he has to cover are any addiTonal
charges on his personal credit cards and gas in his truck. He's also had a ton of problems with his truck
so he's been using my company car because I work remotely and it's cheaper for gas than his truck.
Medical insurance
Medical Copays
RX costs
Room & board


Please let me know if you have any addiTonal quesTons or need more informaTon. Sco1 should also
be sending me a copy of the accounTng for the trust so you can review that if needed.


Thank you




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